      Case 19-22357-GLT                      Doc       Filed 12/21/21 Entered 12/21/21 10:28:18                        Desc Main
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 Fill in this information to identify the case:


   Debtor 1    Matthew A. Manges

   Debtor 2 Christina L. Manges
   (Spouse, if filing)

   United States Bankruptcy Court for the WESTERN District of Pennsylvania


   Case number 19-22357 GLT




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                    U.S. Bank National Association, not in its
 Name of creditor: individual capacity but solely in its capacity as                      Court claim no. (if known):14-1                   _
                   Indenture Trustee of CIM Trust 2021-NR2

 Last 4 digits of any number you use to
 identify the debtor’s account: 2260
 Does this notice supplement a prior notice of postpetition fees,
 Expenses, and charges?
 No
 Yes.       Date of the last notice:12/07/2020


 Part 1:      Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
 If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.
      Description                                                Dates incurred                                       Amount

  1. Late charges                                                                                                     (1)   $
  2. Non-sufficient funds (NSF) fees                                                                                  (2)   $
  3. Attorney fees                                                                                                    (3)   $
  4. Filing fees and court costs                                                                                      (4)   $
  5. Bankruptcy/Proof of claim fees                                                                                   (5)   $
  6. Appraisal/Broker’s price opinion fees                                                                            (6)   $
  7. Property inspection fees                                                                                         (7)   $
  8. Tax advances (non-escrow)                                                                                        (8)   $
  9. Insurance advances (non-escrow)                                                                                  (9)   $
 10. Property preservation expenses. Specify:                                                                        (10)   $
 11. Other. Specify: Insurance Disbursement                                  08/16/2021                              (11)   $ 170.00
 12. Other. Specify:                                                                                                 (12)   $
 13. Other. Specify:                                                                                                 (13)   $
 14. Other. Specify:                                                                                                 (14)   $


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


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       Case 19-22357-GLT                     Doc           Filed 12/21/21 Entered 12/21/21 10:28:18                                       Desc Main
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            Matthew A. Manges, and Christina L. Manges
Debtor 1                                                                      _               Case number (if known) 19-22357 GLT
               First Name     Middle Name         Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  
   I am the creditor.
  I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.

            
            /s/ Brian C. Nicholas                                                                               Date December 10, 2021
                Signature




            Print:           Brian C. Nicholas    ATT ID: 317240                                 _       Title    Attorney for Creditor_____
                             First Name                   Middle Name     Last Name




            Company          KML Law Group, P.C.__________________________


            Address          701            Market Street, Suite 5000______________
                             Number              Street
                             Philadelphia,                                 PA         19106
                             City                                         State          ZIP Code



           Contact phone    (215) 627–1322                              Email bnicholas@kmllawgroup.com


**Please note Creditor is in the process of filing a Transfer of Claim to reflect Creditor as the Transferee of
this Claim. However, this notice is being filed to ensure Creditor’s compliance with Fed. R. Bankr. P.
3002.1.




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